
		
OSCN Found Document:RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2023 OK 45Decided: 04/24/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION.

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RE: Revocation of Certificates of Certified Shorthand Reporters




ORDER


This Court previously suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2022 and/or with the annual certificate renewal requirements for 2023. See 2023 OK 15 (SCAD 2023-17, dated February 21, 2023).

Under the applicable rules, a suspended certificate which has not been reinstated on or before April 15 shall be administratively revoked on that date. 20 O.S., Chapter 20, App. I, Rules 20(e) and 23(f). The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below have not reinstated their credential as required by the rules, and the Board has recommended to this Court the revocation of the certificate of each of these reporters.

The Court hereby approves the Board's recommendation of revocation of each of the certified shorthand reporters named below, and pursuant to the applicable rules such revocation shall be effective April 24, 2023.

Shana Bay CSR #1659

Julie Jackson CSR #2024

Carrie Lamontagne CSR #1976

Kathleen McClanahan CSR #283

Kristy Owen CSR #2018

Judy Thompson CSR #1674

Leslie Thompson CSR #1690

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 24TH day of APRIL, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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